                          Case 4:16-cr-00064-BMM Document 95 Filed 04/28/17 Page 1 of 7
AO 245C (Rev 11116) Amended Judgment in a Criminal Case                                                                             (NOTE: Identify Changes with Asterisks (*»
                    Sheet 1


                                             UNITED STATES DISTRICT COURT                                                                     FILED
                                                                         District of Montana                                                   APR 2 8 2017
                UNITED STATES OF AMERICA                                            )       AMENDED JUDGMENT 1l~}I~rfH:Y'H~r~£rtSE
                                       v.                                           )                                                          District Of Montana
                                                                                    )                                                              Great Falls
                          ASHLEY SOLHEIM                                                    Case Number: CR 16-64-GF-BMM-02
                                                                                    )
                                                                                            USM Number: 16524-046
                                                                                    )
Date of Original Judgment: _4-;;:';-17-;:0-/_20__1-;:-7;---;---;--;--;--;----;­             R. Hank Branom
                                            (Or Date ofLast Amended Judgment)
                                                                                    )
                                                                                    )
Reason for Amendment:
                                                                                    )
o Correction of Sentence on Remand (18 U.S.c. 3742(f)(1) and (2»                    )
                                                                                            o Modification of Supervision Conditions (18 U.S.c. §§ 3563(c) or 3583(e»
o Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                    )
                                                                                                  Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b»                                                                                      Compelling Reasons (18 U.S.c. § 3582(c)(I»
                                                                                    )
    Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a»
                                                                                    )
                                                                                            o Modification of Imposed Term of Imprisonment for Retroactive Amendmenl(s)
!if Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)               )
                                                                                                  to the Sentencing Guidelines (I g U.S.c. § 3582(c)(2»


                                                                                    )
                                                                                            o Direct Motion to District Court Pursuant 28 U.S.c. § 2255 or
                                                                                    )
                                                                                              o 18 U.S.c. § 3559(c)(7)
                                                                                            o Modification of Restitution Order (18 U.S.c. § 3664)
THE DEFENDANT:
~ pleaded gUilty to count(s)            2 of the Indictment
                                       --------------------------------------------------------------------------
    pleaded nolo contendere to count(s)
    which was accepted by the court.
o was found guilty on count(s)      ----------------------- --------------------- ---------...- - - - _...- - - ­
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                          Offense Ended                  Count
 18 U.S.C. §§ 1152, 2                 Burglary                                                                                   4/7/2016                       2

 and M.e.A. § 45-6-204(1)(a)



       The defendant is sentenced as provided in pages 2 through                .. _ _ ~--..C....._ ....._   of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not gUilty on count(s}
    Count(s)                                                     0 is    0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 4/17/17




                                                                                                 ture of Judge
                                                                                             Brian Morris, United States District Judge
                                                                                           Name and Title
                                                                                            4/2712017
                                                                                            Date
                        Case 4:16-cr-00064-BMM Document 95 Filed 04/28/17 Page 2 of 7
  AO 245C (Rev. 11/16) Amended Judgment in a Criminal Case
                       Sheet 2 - Imprisonment                                                                 (NOTE: Identify Changes with Asterisks (0))
                                                                                                         Judgment -   Page   _-'2=---_ of          7
  DEFENDANT: ASHLEY SOLHEIM
  CASE NUMBER: CR 16-64-GF-BMM-02

                                                                IMPRISONMENT

          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
  total term of :
   6 months.




  ~       The court makes the following recommendations to the Bureau of Prisons:
 The Court recommends that the Defendant be placed in FCI Waseca, if possible.




  D       The defendant is remanded to the custody of the United States Marshal.

  D       The defendant shall surrender to the United States Marshal for this district:
          D     at                                   D       a.m.     D     p.m.      on

          D     as notified by the United States Marshal.

*" ~      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D     before 2 p.m. on

          i!1   as notified by the United States Marshal.

          D     as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
  I have executed this judgment as follows:




         Defendant delivered on                                                              to

  at                                                         with a certified copy of this judgment.




                                                                                                       UNITED STATES MARSHAL



                                                                              By
                                                                                                   DEPUTY UNITED STATES MARSHAL
                      Case 4:16-cr-00064-BMM Document 95 Filed 04/28/17 Page 3 of 7
AO 245C (Rev. 11116) Amended Judgment in a Criminal Case
                     Sheet 3 - Supervised Release                                                        (NOTE: IdentifY Changes with Asterisks (*»
                                                                                                                      3_ of
                                                                                                      Judgment-Page _ _                     7
DEFENDANT: ASHLEY SOLHEIM
CASE NUMBER: CR 16-64-GF-BMM-02
                                                       SUPERVISED RELEASE
                                                                                      three years
Upon release from imprisonment, you will be on supervised release for a term of:

                                                    MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3 . You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
    imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          o   The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              substance abuse. (check ifapplicable)
4.  I!f  You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
5. 0 You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qUalifYing offense. (check ifapplicable)
6.       You must participate in an approved program for domestic violence. (checkifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                      Case 4:16-cr-00064-BMM Document 95 Filed 04/28/17 Page 4 of 7
AO 245C (Rev. 11116) Amended Judgment in a Criminal Case
                     Sheet 3A  Supervised Release
                                                                                                        Judgment-Page __4,--_of            7
DEFENDANT:            ASHLEY SOLHEIM
CASE NUMBER:            CR 16-64-GF-BMM-02

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work fun time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (Le., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
II.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
                       Case 4:16-cr-00064-BMM Document 95 Filed 04/28/17 Page 5 of 7
AO 245C (Rev. 11116) Amended Judgment in a Criminal Case
                     Sheet 3D ­ Supervised Release                                             (NOTE: Identify Changes with Asterisks (*»
                                                                                                            5_ of
                                                                                            Judgment-Page _ _                      7
DEFENDANT: ASHLEY SOLHEIM
CASE NUMBER: CR 16-64-GF-BMM-02

                                        SPECIAL CONDITIONS OF SUPERVISION
  1. The defendant shall be monitored by Radio Frequency (RF) Monitoring for a period of 6 months, and shall abide by all
  technology requirements. The participate shall pay all or part of the costs of participation in the location monitoring
  program as directed by the court and probation officer. This form of location monitoring technology shall be utilized to
  monitor the following restriction on the defendant's movement in the community as well as other court-imposed conditions
  of release: You are restricted to your residence at all times except for employment; education; religious services; medical,
  substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
  activities as pre-approved in writing by the probation officer.

  2. The defendant shall submit her person, residence, vehicles, and papers, to a search, with or without a warrant by any
  probation officer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
  submit to search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
  subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
  examination.

  3. The defendant shall participate in and complete a program of substance abuse treatment as approved by the United
  States Probation Office, until the defendant is released from the program by the probation office. The defendant is to pay
  part or all of the cost of this treatment, as directed by the United States Probation Office.

  4. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
  primary item of sale. This condition supersedes standard condition number 7 with respect to alcohol consumption only.

  5. The defendant shall participate in substance abuse testing, to include not more than 104 urinalysis tests, not more than
  104 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
  defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

  6. The defendant shall not ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana and/or
  synthetic stimulants that are not manufactured for human consumption, for the purpose of altering her mental or physical
  state.

  7. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
  marijuana card or prescription.

  8. All employment must be approved in advance in writing by the United States Probation Office. The defendant shall
  consent to third-party disclosure to any employer or potential employer.

  9. The defendant will provide the United States Probation Office with any requested financial information and shall incur no
  new lines of credit without prior approval of the United States Probation Office. You must notify the Probation Office of any
  material changes in your economic circumstances that might affect your ability to pay restitution, fines or special
  assessments.

  10. The defendant shall have no contact with the victim in the instant offense.

  11. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

  12. The defendant shall pay restitution in the total amount of $6,601.97 jointly and severally with co-defendant Charles
  Spotted Wolf. The defendant is to make payments at a rate of $200 per month, or as otherwise directed by United States
  Probation. Payments shall be made to Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue
  West, Suite 110, Great Falls, Montana 59404, and disbursed to:

 M.W.
 P.O. Box 975
 Poplar, MT 59255
                            Case 4:16-cr-00064-BMM Document 95 Filed 04/28/17 Page 6 of 7
    AO 245C (Rev. 11116) Amended Judgment in'a Criminal Case
                         Sheet 5 - Criminal MonetaI)' Penalties                                                   (NOTE: IdentifY Changes with AsterIsks (*»
                                                                                                          Judgment -   Page   _--'6"----_   of _ _~7
    DEFENDANT: ASHLEY SOLHEIM
    CASE NUMBER: CR 16-64-GF-BMM-02
                                                   CRIMINAL MONETARY PENALTIES
          The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                          Assessment                   JVT A Assessment'"   Fine                                 Restitution
TOTALS                 $ 100.00                      $ N/A                $ WAIVED                              $ 6,601.97


          The determination of restitution is deferred until     . An Amended Judgment in a Criminal Case (AD 245C) will be
                                                             ----
          entered after such determination.

    ~ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
          before the United States is paId.



     M,W;,.,;;.·

      P.O. Box 975




    TOTALS                               $ ____________~O~.O~O_                $                          .97


          Restitution amount ordered pursuant to plea agreement $

    o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.s.c. § 3612(g).

    l!1   The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

*         Ii1 the interest requirement is waived for         o fine IY1 restitution.
          o the interest requirement for the          0    fme    o restitution is modified as follows:

    '" Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
    ** Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
    after September 13, 1994, but before April23, 1996.
                       Case 4:16-cr-00064-BMM Document 95 Filed 04/28/17 Page 7 of 7
AO 245C (Rev. 11/16) Amended Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                         Judgment -          7_ of
                                                                                                                      Page _ _                   7
DEFENDANT: ASHLEY SOLHEIM
CASE NUMBER: CR 16-64-GF-BMM-02

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     D Lump sum payment of $          - - - - - - ­
                                                             due immediately, balance due

           D not later than      -:-:-_ _ _ _ _ _ _ _ _ ' or
           D in accordance with D C,          D D, D E, or                D F below; or
B     D Payment to begin immediately (may be combined with               D C,       D D, or D F below); or
C     D Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                         over a period of
          _ _ _ _ _ (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                    over a period of
         ----­
                      (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

E     D Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     I!f Special instructions regarding the payment of criminal monetary penalties:
             Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
           . payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
             the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments shall be made to
             the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great
             Falls, MT 59404, **AssessmenURestitution Ashley Solheim**.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons ,
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




l!1   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       Defendant Ashley Solheim, CR 16-64-GF-BMM-02; Co-Defendant Charles Spotted Wolf, CR 16-64-GF-BMM-01
       Total Amount: $6,601.97; JoinUSeveral: $6,601.97
       Payee: M.W., Poplar, MT 59255

D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the followingorder: (1) assessment, (2) restitution principal! (3) restitution interest) (4) fine principal, (5) fine
interest, (6) commumty restitution, (7) JVTA assessment, (8) pena1tles, and (9) costs, mc udmg cost of prosecutIon and court costs.
